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10
     Attorneys for Plaintiff
11
                                  UNITED STATES DISTRICT COURT
12                                     DISTRICT OF NEVADA

13                                    )
     RICHARD ZEITLIN, ADVANCED        )
14   TELEPHONY CONSULTANTS, MRZ       )
     MANAGEMENT, LLC, DONOR           )
15
     RELATIONS, LLC, TPFE, INC.,      )
16   AMERICAN TECHNOLOGY SERVICES, )
     COMPLIANCE CONSULTANTS,          )
17   CHROME BUILDERS CONSTRUCTION, )
     INC., and UNIFIED DATA SERVICES, )
18                                    )
19                Plaintiffs,         )
                                      )
20          v.                        )                    Case No.   2:18-cv-01919-RFB-CWH
                                      )
21   BANK OF AMERICA, N.A. and JOHN   )                    STIPULATION TO EXTEND TIME TO
     and JANE DOES 1-100,             )                    FILE PROPOSED SCHEDULING ORDER
22                                    )                              (First Request)
23                Defendants.         )
                                      )
24
            Richard Zeitlin, Advanced Telephony Consultants, MRZ Management, LLC, Donor
25
     Relations, LLC, TPFE, Inc., American Technology Services, Compliance Consultants, Chrome
26   Builders Construction, and Unified Data Services, (hereinafter the “Plaintiffs”), by and through
27   undersigned counsel of record files this Stipulation to Extend the Time to File the Joint Proposed
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 1   Scheduling Order. This stipulation is filed pursuant to LR 6-1 and 6-2. This is the first request for an
 2   extension of time to file the Joint Proposed Scheduling Order.

 3          Bank of America (“BOA”) filed its Motion to Dismiss on November 16, 2018, (Doc. 16),
     and the Court ordered a hearing set for April 25, 2019, (Doc. 27). At the April 25, 2019 motion
 4
     hearing the Court ordered the parties to submit a joint proposed scheduling order by May 10, 2019.
 5
     (Doc. 28.) The undersigned counsel for the Plaintiffs ordered an expedited transcript so the parties
 6   could incorporate the discussion into the proposed scheduling order. The parties need additional time
 7   to review the transcript, exchange drafts of the proposed scheduling order and confer before filing
 8   the joint proposed scheduling order. Therefore, the parties have stipulated to a seven-day extension

 9   to file the joint proposed scheduling order from Friday, May 10 to Friday, May 17 and request the
     Court adopt this stipulation.
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            Respectfully submitted on May 9, 2019.
11
12
                                                            THE BERNHOFT LAW FIRM, S.C.
13                                                          Attorneys for the Plaintiffs

14
                                                             /s/ Robert G. Bernhoft
15                                                          ROBERT G. BERNHOFT, ESQ.
                                                            Wisconsin Bar No. 1032777
16
                                                            1402 E. Cesar Chavez Street
17                                                          Austin, Texas 78704

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     IT IS SO ORDERED:
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     UNITED STATES DISTRICT JUDGE
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     DATED:
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       Case 2:18-cv-01919-RFB-CWH Document 31 Filed 05/09/19 Page 3 of 3



 1                                    CERTIFICATE OF SERVICE
 2          I hereby certify that on this date, I electronically filed the foregoing STIPULATION TO
 3   EXTEND TIME TO FILE PROPOSED SCHEDULING ORDER with the Clerk of the Court for
 4   the U. S. District Court, District of Nevada by using the Court’s CM/ECF system. Participants in the

 5   case who are registered CM/ECF users will be served by the CM/ECF system.

 6          DATED: May 9, 2019.
 7
 8
                                                          ___/s/ Robert G. Bernhoft    ________
 9                                                           Attorney for Plaintiffs
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